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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                               1/11/21
--------------------------------------------------------------------- x
UNITED STATES OF AMERICA,                                             :
                                                                      :
                                            Plaintiff,                :
                                                                      :   15-CR-171 (ALC)
                 -against-                                            :
                                                                      :   ORDER
EDWARD DURANTE,                                                       :
                                                                      :
                                            Defendant.                :
                                                                      :
                                                                      :
---------------------------------------------------------------------
                                                                      x
ANDREW L. CARTER, JR., District Judge:

         The motion for reconsideration is denied. The 18 U.S.C. 3553(a) factors do

not support release.

SO ORDERED.


Dated:            New York, New York
                  January 11, 2021




                                                     ____________________________________
                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge
